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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


Matthew Heath,                                             )   Civil Action No.
                                                           )   2:17-cv-01792-RMG
                                                           )
                                 Plaintiff(s),             )
                                                           )
                  -vs-                                     )
                                                           )   ORDER OF DISMISSAL
College of Charleston, et al.                              )
                                                           )
                                 Defendant(s).             )


           The court having been advised by counsel for the parties that the above action has been

settled,

           IT IS ORDERED that this action is hereby dismissed without prejudice. If settlement is

not consummated within sixty (60) days, either party may petition the Court to reopen this action

and restore it to the calendar. Fed. R. Civ. P. 60(b). In the alternative, to the extent permitted by

law, either party may within sixty (60) days petition the Court to enforce the settlement, and the

Court specifically retains jurisdiction to enforce the settlement. See Fairfax Countywide Citizens

Ass’n v. Fairfax Cnty., Va., 571 F.2d 1299 (4th Cir. 1978). The dismissal hereunder shall be with

prejudice if no action is taken under either alternative within (60) days from the filing date of this

order.

           AND IT IS SO ORDERED.




November 2, 2018                                         S/ Richard M. Gergel
Charleston, South Carolina                               United States District Judge




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